     Case 2:13-cr-00008-WFN     ECF No. 1056   filed 05/29/13   PageID.3776 Page 1 of 1




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 2
 3                         UNITED STATES DISTRICT COURT
 4                      EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                      No. CR-13-008-WFN-39

 7                      Plaintiff,                ORDER DENYING DEFENDANT’S
 8                                                MOTION TO RECONSIDER
     vs.
 9                                                --- ACTION REQUIRED BY ---
10 BOBBY JO WINES,                                       U.S. MARSHAL
11
                        Defendant.
12
           Based upon the discussion in the Supplemental Pretrial Services Report filed
13
     May 22, 2013, ECF No. 1044, the undersigned is unable to conclude Judge
14
     Mumm’s detention order of March 1, 2013, should be altered.           Accordingly,
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     Defendant’s Motion to reconsider, ECF No. 840, is DENIED.
16
           At the May 2, 2013, hearing, Defendant also requested that he be housed at
17
     the Spokane County Jail.        The U.S. Marshal is directed to review whether
18
     Defendant can be housed at the Spokane County Jail for two-week periods
19
     whenever he is scheduled for court hearings. For other blocks of time, Defendant
20
     timely must submit his request for transport with the U.S. Marshal.
21
           In addition, the U.S. Marshal is directed to review whether there can be
22
     visitation at the holding cells at the Spokane U.S. Courthouse to permit lengthier
23
     visitation between counsel and the client when Defendant is in Spokane.
24
           DATED May 29, 2013.
25
26                            S/ CYNTHIA IMBROGNO
27                      UNITED STATES MAGISTRATE JUDGE

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     ORDER - 1
